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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION


 UNITED STATES                                    CRIM. NO. 10-0230

 VERSUS                                           JUDGE S. MAURICE HICKS, JR.

 JECARLOS CARTER, ET AL                           MAGISTRATE JUDGE HORNSBY

 _____________________________________________________________________

                                 MEMORANDUM ORDER

        Before this Court is a Motion in Limine to Include Evidence (Record Document 138)

 filed by the Government. The motion is opposed. See Record Documents 150, 152 and

 154. For the following reasons, the motion is GRANTED.

        This Court finds this motion to be an “offensive” motion in limine because according

 to the Government “[t]he defendants may seek to exclude intercepted conversations and

 testimony regarding shooting an unindicted co-conspirator for non-payment of [a] debt,

 specifically owing JECARLOS CARTER for two ounces of cocaine.” [Record Document 138

 at 1]. The Government seeks an advance ruling that the evidence (the intercepted

 conversations) is in fact admissible.

        There appears to be a dispute between the Defendants as to which standard/rule

 of evidence applies to this determination. Defendant Ramon Daniels argues the evidence

 the government seeks to introduce is extrinsic and governed by Fed. R. Evid. 404(b) and

 United States v. Beechum, 582 F.2d 898, 911 (5th Cir. 1994).1 JeCarlos Carter contends


        1
         “First, it must be determined that the extrinsic offense evidence is relevant to an
 issue other than the defendant's character. Second, the evidence must possess probative
 value that is not substantially outweighed by its undue prejudice and must meet the other
 requirements of rule 403.” Beechum, 582 F.2d at 911.
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 this is intrinsic evidence and the balancing test of Fed. R. Evid. 403 governs.2 The Court

 finds the proffered evidence is not extrinsic evidence. Instead, it is intrinsic to the alleged

 drug conspiracy between the participants on the taped conversations, namely JeCarlos

 Carter, Ramon Daniels and Nicky Carter. [Record Document 138].                 Therefore, the

 balancing test contained within Fed. R. Evid. 403 will govern this Court’s analysis.

        According to Fed. R. Evid. 403:

               Although relevant, evidence may be excluded if its probative
               value is substantially outweighed by the danger of unfair
               prejudice, confusion of the issues, or misleading the jury, or by
               considerations of undue delay, waste of time, or needless
               presentation of cumulative evidence.

 Fed. R. Evid. 403. To exclude evidence under Rule 403, this Court must find that “the

 probative value of that evidence ‘is substantially outweighed by the danger of unfair

 prejudice.’” United States v. Caldwell, 820 F.2d 1395, 1404 (5th Cir. 1987) (quoting Fed.

 R. Evid. 403) (emphasis added). The Court notes “[t]he balancing of probative value

 against prejudicial effect is committed to the sound discretion of the trial judge, a decision

 that is final in the absence of abuse of discretion.” United States v. Dula, 989 F.2d 772,

 778 (5th Cir. 1993).

        The government seeks to include transcripts between the three parties planning a

 shooting of “an unindicted coconspirator [Paul Washington] for not paying his cocaine

 related debts.” [Record Document 138-1 at 1].           Washington was never shot.          All

        2
        “‘Other act’ evidence is intrinsic when the evidence of the other act and the
 evidence of the crime charged are inextricably intertwined or both acts are part of a single
 criminal episode or the other acts were necessary preliminaries to the crime charged.”
 United States v. Williams, 900 F.2d 823, 825 (5th Cir.1990) (citations omitted). “Intrinsic
 evidence is admissible to complete the story of the crime by proving the immediate context
 of events in time and place, and to evaluate all of the circumstances under which the
 defendant acted.” United States v. Rice, 607 F.3d 133, 141 (5th Cir.2010) (internal citations
 and quotations omitted).
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 Defendants bear out their belief that the admission of the transcripts would serve to inflame

 the passions of the jury.

        Ramon Daniels and Antonio Furlow (not on the tape) argue that admission of such

 evidence would paint the alleged conspiracy as prone to violence, which they argue the

 evidence cannot support. See Record Documents 152 and 154. While this Court is aware

 that most drug conspiracy defendants believe that drugs do not beget violence, the Court

 is not so naive. Case after case after case have paved the link between drugs and

 violence. It is no way as anathema as Defendants allege.

        To establish a conspiracy to distribute a controlled substance, the Government must

 prove beyond a reasonable doubt: “(1) the existence of an agreement between two or more

 persons to violate narcotics laws; (2) the defendant's knowledge of the agreement; and (3)

 his voluntary participation in the conspiracy.” United States v. Valdez, 453 F.3d 252, 256-57

 (5th Cir.2006). The Government contends

               [i]n all conspiracies, different people play different roles. In this
               conspiracy, RAMON DANIELS played a unique role as
               confidant, right-hand man, and protégé to JECARLOS
               CARTER. When JECARLOS CARTER wanted to take action
               against someone who stole from him, he called his sister
               NICKY CARTER to assist in collecting the money and he called
               RAMON DANIELS to assist him in retribution. These calls
               provide a unique perspective of the roles of RAMON DANIELS
               and NICKY CARTER in JECARLOS CARTER’s organization.

 [Record Document 138-1 at 6-7]. The Government has only been able to provide this

 Court with one case that is remotely analogous to facts at hand. See United States v.

 Cortinas, 142 F.3d 242 (5th Cir. 1998). In that drug conspiracy case, the Government

 introduced evidence of a “shooting up” of a house for the nonpayment of a drug related

 debt. Id. at 247-48. On review, the Fifth Circuit held:
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               [t]he shooting incident was admitted properly as an intrinsic act
               in furtherance of the conspiracy. The violence was part of the
               effort to collect money owed for marihuana3 that had been
               delivered to one of Nieto’s customers.

 Id. at 248 (internal citations omitted). While in this instance the facts are not so heinous,

 the Fifth Circuit’s holding is instructive. This Court has been unable to find any other cases

 similar to the one before it. The evidence at bar is no way as prejudicial as the evidence

 admitted in Cortinas.

        However, this Court does take pause. Defendants argue the statements were

 merely hot headed bravado. See Record Document 152. Defendants are free to pursue

 this theory at trial. The Court realizes the evidentiary prejudice of this recording, but “all

 probative evidence is by its very nature prejudicial.” United States v. Powers, 168 F.3d

 741, 749 (5th Cir. 1999). The Court finds that this prejudice does not outweigh its

 relevance and rise to the level of unfair prejudice. Subject to the Government being able

 to authenticate the intercepted conversations, the Court finds the evidence of the planned




        3
         In this instance, the Fifth Circuit chose to use the spelling contained in the federal
 statutes prohibiting the distribution of that substance.       See 21 U.S.C. § 841(b)(4).
 However, the Court will note that the Supreme Court of the United States adopted the
 spelling “marijuana.” Tony Mauro, To Are is Human, 12 GREEN BAG 2d 11, 12-13 (2008)
 (noting that Reporter of Decisions Henry Lind “asked the justices to vote on how to spell
 the cannabis-bearing plant” and subsequently “declared the issue resolved: ‘[T]he spelling
 from now on should be a “j.” I hope that this will settle the matter.’”).
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 shooting admissible. The Court will provide limiting instructions for the jury if requested by

 the Defendants. See United States v. Sanders, 343 F.3d 511, 518 (5th Cir. 2003) and

 United States v. Gonzalez-Lira, 936 F.2d 184, 192 (5th Cir.1991).

        For the foregoing reasons,

        IT IS THEREFORE ORDERED AND ADJUDGED that Government’s Motion in

 Limine to Include Evidence [Record Document 138] be and is hereby GRANTED.

        THUS DONE AND SIGNED in Shreveport, Louisiana, on this 11th day of May, 2011.
